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 7                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 8                                          AT SEATTLE
 9
10     LESTER MCCANTS,                                      Case No. C21-0871-RSM

11                   Plaintiff,                             MINUTE ORDER
12                      v.
13
       SKYLINE AT FIRST HILL,
14
                   Defendant.
15
16
            The following MINUTE ORDER is made by direction of the Court, the Honorable
17
     Ricardo S. Martinez, Chief United States District Judge: On June 28, 2021, Plaintiff Lester
18
19   McCants filed a Complaint with this Court against Defendant Skyline at First Hill (“Skyline”).

20   Dkt. #1. The Complaint contained three paragraphs under the caption “motion for preliminary
21
     and temporary injunction,” which the Court interpreted as a separate motion for preliminary
22
     injunction. Accordingly, Plaintiffs’ motion was noted for consideration on July 16, 2021.
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24          As of the date of this Order, Defendant has not appeared in this matter. Plaintiff’s motion

25   does not request ex parte relief.     Accordingly, the Court STAYS Plaintiff’s motion for
26   preliminary injunction pending Defendant’s appearance. Defendant will be afforded thirty (30)
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     days from the date of appearance to file a response.
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     MINUTE ORDER - 1
            Case 2:21-cv-00871-RSM Document 6 Filed 07/30/21 Page 2 of 2




          DATED this 30th day of July, 2021.
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                                               WILLIAM McCOOL, Clerk
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                                               By:   /s/ Paula McNabb
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                                                     Deputy Clerk
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     MINUTE ORDER - 2
